             Case 1:14-cr-10276-IT Document 437 Filed 04/10/18 Page 1 of 3


                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )  No. 14-cr-10276-IT
v.                             )
                               )
JOHN CRANNEY,                  )
                               )
      Defendant.               )
______________________________)

        GOVERNMENT’S MOTION IN LIMINE REGARDING THE USE AT TRIAL
         OF LAW ENFORCEMENT INTERVIEW MEMOS BY THE DEFENDANT

       The United States has provided the defendant with witness interview summaries prepared by

law enforcement personnel from the Federal Bureau of Investigation, Internal Revenue Service, and

the Department of Labor. The interviewed witnesses did not create, review, or approve the

summaries. The summaries include the investigators’ distillation of the substance of the information

received from witnesses. As such, the interview summaries are not statements of the witnesses

within the meaning of the Jencks Act, and any suggestion to the contrary is likely to confuse and to

mislead the witnesses and, consequently, the jury. Accordingly, the United States moves in limine to

preclude the defendant from introducing the contents of interview summaries to impeach witnesses

during cross-examination, from publishing the contents of interview summaries to the jury, or from

otherwise suggesting that the interview summaries are statements of witnesses who did not write

them or adopt them.

                                            ARGUMENT

       The Jencks Act requires that after a witness for the United States testifies on direct

examination, the government must provide the defense with any statements made by the witness that

relates to the subject of his or her testimony. 18 U.S.C. § 3500. A statement within the meaning of

the Jencks Act is defined as “a written statement made by said witness and signed or otherwise
                                                   1
              Case 1:14-cr-10276-IT Document 437 Filed 04/10/18 Page 2 of 3


adopted or approved by him”; a recording or transcription that “is a substantially verbatim recital of

an oral statement made by said witness and recorded contemporaneously”; or a statement made by a

witness to the grand jury. 18 U.S.C. § 3500(e); see also Palermo v. United States, 360 U.S. 343, 352

(1959) (“[O]nly those statements which could properly be called the witness= own words should be

made available to the defense.”).

       The interview summaries produced by the United States in this case were not discoverable

under the Jencks Act because they are not statements of the witness within the meaning of the statute.

The government witnesses in this case have not reviewed or adopted the interview summaries as their

statements. Moreover, because law enforcement personnel wrote the summaries after the interviews,

did not seek to transcribe the witnesses statements, and principally memorialized their thought

processes and interpretations, the interview summaries do not constitute a contemporaneously

recorded and substantially verbatim recital of the witnesses’ statements under subsection (e)(2) of the

Jencks Act. See Palermo, 360 U.S. at 352-53 (holding that summaries that “evidence substantial

selection of material, or which were prepared after the interview without the aid of complete notes,

and hence rest on the memory of the agent . . . [or on] the agent’s interpretations or impressions” are

not witness statements under the Jencks Act); United States v. Foley, 871 F.2d 235, 239 (1st Cir.

1989) (“It is plain that the 302s are not substantially verbatim recitals . . . and recorded

contemporaneously.”).

       In this circumstance, the defense should be limited to using the interview summaries in a

manner that does not lead the jury to believe that the interview summaries are the witnesses’ prior

statements. To allow otherwise would subvert the meaning of the Jencks Act and the Supreme

Court’s decision in Palermo holding that it would “be grossly unfair to allow the defense to use

statements to impeach a witness which could not fairly be said to be the witness’s own rather than the


                                                     2
             Case 1:14-cr-10276-IT Document 437 Filed 04/10/18 Page 3 of 3


product of the investigator’s selections, interpretations, and interpolations.” 360 U.S. at 350. The

defendant, of course, may ask a witness whether he or she made a statement reflected in an interview

summary. However, if the defense is not satisfied with the witness’s answer, the defense should not

be allowed to suggest to the witness or to the jury that the interview summary is the witness’s prior

statement or to publish or to introduce the contents of the interview summary as a prior inconsistent

statement, absent a showing that the witness adopted the interview summary as his or her statement.

                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney

Dated: April 10, 2018                 By:    /s/Kriss Basil
                                             MARK J. BALTHAZARD, BBO# 544463
                                             KRISS BASIL, BBO# 673074
                                             Assistant United States Attorneys
                                             John Joseph Moakley Courthouse
                                             One Courthouse Way, Suite 9200
                                             Boston, Massachusetts 02210
                                             Tel: (617) 748-3100
                                             kriss.basil@usdoj.gov


                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: April 10, 2018                        /s/Kriss Basil
                                             KRISS BASIL
                                             Assistant United States Attorney




                                                   3
